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15
                                   UNITED STATES DISTRICT COURT
16
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                        SAN JOSE DIVISION
18
19   ANDREW COHEN, KALEAH C. ALLEN,                   Case No.:
     KIMBERLY BENJAMIN, TIMOTHY
20   HORNICK, NICHOLAS CARLSON,                       CLASS ACTION COMPLAINT
21   JONATHAN WOLFE, MARK WEILER, CHAD
     SMITH, SARAH D. SMITH, and SCOTT                 DEMAND FOR JURY TRIAL
22   CISCHKE, individually and on behalf of all
     others similarly situated,
23
                     Plaintiffs,
24

25          vs.

26   APPLE, INC. and SAMSUNG ELECTRONICS
     AMERICA, INC.
27
                     Defendants.
28
                                                  1
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             Plaintiffs Timothy Hornick, Andrew Cohen, Kaleah C. Allen, Kimberly Benjamin, Nicholas
 1

 2   Carlson, Mark Weiler, Chad Smith, Sarah D. Smith, Matt Koppin, Scott Cischke, and Albert Collins,

 3   by and through their attorneys, for their Complaint, allege as follows based upon their personal

 4   information and investigation of their attorneys:
 5
                                            I.     INTRODUCTION
 6
                    If a cellphone is marketed and sold to consumers, the device is never supposed to
 7
     exceed the maximum allowable limit for radiofrequency (“RF”) radiation exposure.
 8
                    In fact, Defendants market and sell some of the most popular smartphones in the world
 9
     – including Apple’s iPhones and Samsung’s Galaxy phones - as emitting less RF radiation than that
10
     set by law and as being completely safe to carry and use on or in close proximity to the human body.
11
                    Hold your smartphone to your ear for a phone call? No problem, say Defendants. Carry
12
     your smartphone in your back pocket? Of course, say Defendants. Use your smartphone to conduct a
13
     sonogram of your unborn child in utero? That’s ok too, according to Samsung.
14
                    In fact, however, recent testing of Defendants’ products shows that the potential
15
     exposure for an owner carrying the phone in a pants or shirt pocket was over the exposure limit,
16
     sometimes far exceeding it – in some instances by 500 percent.
17
                    Numerous recent scientific publications, supported by hundreds of scientists worldwide,
18
     have shown that RF radiation exposure affects living organisms at levels well below most
19
     international and national guidelines. Effects include increased cancer risk, cellular stress, increase in
20
     harmful free radicals, genetic damages, structural and functional changes of the reproductive system,
21
     learning and memory deficits, neurological disorders, and negative impacts on general well-being in
22
     humans. Thus, Defendants’ design, manufacture, and sale of smartphones that far exceed federal
23
     guidelines exacerbates the health risks to Plaintiffs and the Classes.
24
                    Plaintiffs thus bring this Complaint for negligence, breach of warranty, consumer fraud
25
     and unjust enrichment, seeking actual damages, the costs of medical monitoring, restitution and
26
     injunctive relief.
27

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                                                          2
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 1                                            II.     JURISDICTION

 2                 This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332(a)(1) as

 3   modified by the Class Action Fairness Act of 2005, because at least one member of the Class is a

 4   citizen of a different state than Defendant, there are more than 100 members of the Class, and the

 5   aggregate amount in controversy exceeds $5,000,000.00, exclusive of interest and costs.

 6                 Pursuant to 28 U.S.C. §1391(b), venue is proper in this district because a substantial

 7   part of the events giving rise to the claims occurred in this District.

 8                                  III.   INTRADISTRICT ASSIGNMENT

 9                 Assignment to the San Jose division of this district is appropriate under Civil Local Rule

10   3-2 because a substantial part of the events or omissions which give rise to the claims occurred in the

11   San Jose division.

12                                                  IV.   PARTIES

13                 A. Plaintiffs
14
                   Andrew Cohen is a resident of Scottsdale, Arizona and citizen of the United States.
15
     Cohen purchased an iPhone X in August 2017, and regularly carries and uses the phone on or near his
16
     body. Cohen would not have purchased the phone and/or would not have paid as much for the phone
17
     had he understood the risk of radiation exposure from the phone. As a result of Apple’s actions as
18
     alleged herein, Cohen has been damaged and is now at risk for problems associated with RF radiation
19
     exposure.
20
                   Kaleah C. Allen is a resident of Des Moines, Iowa and citizen of the United States.
21
     Allen purchased an iPhone 8 in January 2018, and regularly carries and uses the phone on or near her
22
     body. Allen would not have purchased the phone and/or would not have paid as much for the phone
23
     had she understood the risk of radiation exposure from the phone. As a result of Apple’s actions as
24
     alleged herein, Allen has been damaged and is now at risk for problems associated with RF radiation
25
     exposure.
26
                   Kimberly Benjamin is a resident of Raymore, Missouri and citizen of the United States.
27
     Benjamin purchased an iPhone X in or about 2017, and regularly carries and uses the phone on or
28
                                                           3
                                             CLASS ACTION COMPLAINT
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 1   near her body. Benjamin would not have purchased the phone and/or would not have paid as much

 2   for the phone had she understood the risk of radiation exposure from the phone. As a result of

 3   Apple’s actions as alleged herein, Benjamin has been damaged and is now at risk for problems

 4   associated with RF radiation exposure.

 5                Timothy Hornick is a resident of Windber, Pennsylvania and citizen of the United

 6   States. Hornick purchased an iPhone 8 in January 2018, and regularly carries and uses the phone on or

 7   near his body. Hornick would not have purchased the phone and/or would not have paid as much for

 8   the phone had he understood the risk of radiation exposure from the phone. As a result of Apple’s

 9   actions as alleged herein, Hornick has been damaged and is now at risk for problems associated with

10   RF radiation exposure.

11                Nicholas Carlson is a resident of Lake Worth, Florida and citizen of the United States.

12   Carlson purchased an iPhone 7 Plus in September 2016, and regularly carries and uses the phone on

13   or near his body. Carlson would not have purchased the phone and/or would not have paid as much

14   for the phone had he understood the risk of radiation exposure from the phone. As a result of Apple’s

15   actions as alleged herein, Carlson has been damaged and is now at risk for problems associated with

16   RF radiation exposure.

17                Mark Weiler is a resident of Fargo, North Dakota, and citizen of the United States.

18   Weiler received a replacement iPhone 8 in January 2019 through insurance, and regularly carries and
19   uses the phone on or near his body. Weiler would not have purchased the phone and/or would not

20   have paid as much for the phone had he understood the risk of radiation exposure from the phone. As

21   a result of Apple’s actions as alleged herein, Weiler has been damaged and is now at risk for problems

22   associated with RF radiation exposure.

23                Scott Cischke is a resident of LaGrange Park, Illinois, and citizen of the United States.

24   Cischke purchased an iPhone X in June 2018, and regularly carries and uses the phone on or near his

25   body. Cischke would not have purchased the phone and/or would not have paid as much for the

26   phone had he understood the risk of radiation exposure from the phone. As a result of Apple’s actions

27   as alleged herein, Cischke has been damaged and is now at risk for problems associated with RF

28   radiation exposure.
                                                        4
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 1                   Matt Koppin is a resident of Yorkville, Illinois and citizen of the United States. Koppin

 2   purchased an iPhone 8 in Spring 2018, and regularly carries and uses the phone on or near his body.

 3   Koppin would not have purchased the phone and/or would not have paid as much for the phone had

 4   he understood the risk of radiation exposure from the phone. As a result of Apple’s actions as alleged

 5   herein, Koppin has been damaged and is now at risk for problems associated with RF radiation

 6   exposure.

 7                   Albert Collins is a resident of Indio, California and citizen of the United States. Collins

 8   purchased a Galaxy S8, and regularly carries and uses the phone on or near his body. Collins would

 9   not have purchased the phone and/or would not have paid as much for the phone had he understood

10   the risk of radiation exposure from the phone. As a result of Apple’s actions as alleged herein,

11   Collins has been damaged and is now at risk for problems associated with RF radiation exposure.

12                   Sarah D. Smith is a resident of Harrisburg, Pennsylvania and citizen of the United

13   States. Smith purchased a Samsung Galaxy Note 8 in or about January 2018, and regularly carries and

14   uses the phone on or near her body. Smith would not have purchased the phone and/or would not

15   have paid as much for the phone had she understood the risk of radiation exposure from the phone.

16   As a result of Samsung’s actions as alleged herein, Smith has been damaged and is now at risk for

17   problems associated with RF radiation exposure.

18                   Chad Smith is a resident of Harrisburg, Pennsylvania, and citizen of the United States.
19   Smith purchased a Galaxy S8 in June 2018, and regularly carries and uses the phone on or near his

20   body. Smith would not have purchased the phone and/or would not have paid as much for the phone

21   had he understood the risk of radiation exposure from the phone. As a result of Samsung’s actions as

22   alleged herein, Smith has been damaged and is now at risk for problems associated with RF radiation

23   exposure.

24                   Andrew Cohen, Kaleah C. Allen, Kimberly Benjamin, Timothy Hornick, Nicholas

25   Carlson, Mark Weiler, Matt Koppin, and Scott Cischke are collectively referred to as the “Apple

26   Plaintiffs.” Chad Smith, Sarah D. Smith, and Albert Collins are collectively referred to as the

27   “Samsung Plaintiffs”. The Apple Plaintiffs and Samsung Plaintiffs are collectively referred to as

28   “Plaintiffs.”
                                                           5
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 1
                   B. Defendants
 2

 3                 Apple, Inc. (“Apple”) is a California corporation with its headquarters and principal

 4   place of business in Cupertino, California, which lies within this District. Apple designs,

 5   manufactures and sells various consumer electronics, computer software and online services. Apple’s

 6   consumer electronics products include the iPhone 8 and iPhone X. In addition to being headquartered

 7   and having its principal place of business in Cupertino, California, Apple transacts substantial

 8   business throughout the State of California, through advertising, marketing and ownership of

 9   numerous Apple retail stores throughout California, including several in this District. Apple also

10   transacts business nationwide, advertising, marketing, distributing and selling its iPhone products

11   nationwide and ownership of Apple retail stores in 44 states and the District of Columbia.

12                 Samsung Electronics America, Inc. (“Samsung”) is a New York corporation that

13   maintains its principal place of business at 85 Challenger Road, Ridgefield Park, New Jersey 07669.

14   In 2015, Samsung opened the Samsung Device Solutions America campus at 3655 North 1st Street,

15   San Jose, CA 95134, where it maintains its home to Samsung’s digital health and data center projects.

16   In addition to maintaining its campus in San Jose, California, Samsung transacts substantial business

17   throughout the State of California. Samsung also transacts business nationwide, advertising,

18   marketing, distributing and selling its smartphone products nationwide.

19   ///

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                                           CLASS ACTION COMPLAINT
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 1                                 V.     SUBSTANTIVE ALLEGATIONS

 2         A. The Role of Smartphones in American Culture
 3                 According to Pew Research Center, 96 percent of Americans own a cellphone of some
 4   kind. 1 Of those, 81 percent own smartphones, 2 up from just 35% in Pew Research Center’s first
 5   survey of smartphone ownership conducted in 2011. 3
 6                 Roughly 20 percent of American adults are “smartphone-only” internet users, meaning
 7   they own a smartphone but don’t otherwise subscribe to internet service. 4
 8                 According to the Chicago Tribute, there are currently an estimated 285 million
 9   smartphones in active use in the United States. 5
10                 And, 29 percent of U.S. teens sleep with their cellphones in bed with them, according to
11   a 2019 report by the nonprofit organization Common Sense Media.
12

13         B. Defendants Market and Sell Their Smartphones as Being Safe to Use on and Close to
              the Human Body at All Times.
14
                   Widely recognized as Apple’s premier product line, iPhone is a line of industry-leading
15
     smartphones that debuted on June 29, 2007.
16
                   When Steve Jobs introduced the iPhone in 2007, he described it as “the Internet in your
17
     pocket for the first time ever.” He emphasized that the “iPhone is like having your life in your
18
     pocket.” 6 And displayed behind Jobs as he launched the iPhone was the following picture:
19

20          1
               https://www.pewinternet.org/fact-sheet/mobile/ (last visited August 23, 2019).
            2
21             PC Magazine defines the term “smartphone” as “[a] cellphone and handheld computer that
     created the greatest tech revolution since the Internet. A smartphone can do everything a personal
22   computer can do, and because of its mobility, much more . . . A smartphone combines a cellphone
     with e-mail and Web, music and movie player, camera, camcorder, GPS navigation, voice recorder,
23   alarm clock, flashlight, photo album, address book and a lot more. It is also a personal assistant that
     delivers information and answers questions about almost everything …. A lot more personal than a
24   personal computer, a smartphone is generally within reach at all times.” See
25   http://www.pcmag.com/encyclopedia/term/51537/smartphone (last visited August 23, 2019).
             3
               Id.
             4
26             Id.
             5
               https://www.chicagotribune.com/investigations/ct-cell-phone-radiation-testing-20190821-
27   72qgu4nzlfda5kyuhteiieh4da-story.html (last visited August 23, 2019).
             6
               https://thenextweb.com/apple/2015/09/09/genius-annotated-with-genius/ (last accessed
28
     August 23, 2019).
                                                         7
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                   In July of 2016, Apple celebrated the sale of its billionth iPhone. 7 Apple included within
11
     the press release announcing that milestone sale the following quote from its CEO Tim Cook: “iPhone
12
     has become one of the most important, world-changing and successful products in history. It's become
13
     more than a constant companion. iPhone is truly an essential part of our daily life and enables much of
14
     what we do throughout the day.” 8
15
                   Throughout the years, Apple has continued to expound on the theme of keeping the
16
     iPhone in your pocket.
17
                   For example, in May 2018, Apple released a commercial for iPhone X, touting the
18
     phone’s camera and portrait lighting capabilities. In the ad, a woman is seen taking the iPhone X out
19
     of her pocket. Immediately, lights, umbrellas and all of the other trappings of a professional studio
20
     appear around her. 9
21
                   The commercial ends with the slogan “Studio in Your Pocket”: 10
22

23

24

25
            7
26             https://www.apple.com/newsroom/2016/07/apple-celebrates-one-billion-iphones.html (last
     visited August 23, 2019).
27           8
               Id.
             9
               https://www.youtube.com/watch?v=NApRGgbm480 (last accessed August 23, 2019).
28           10
                https://www.youtube.com/watch?v=NApRGgbm480 (last accessed August 23, 2019).
                                                         8
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10                  Apple’s commercials also regularly show people listening to music through headphones

11   with their iPhones in their pockets 11 or using the iPhones while holding it in their bare hands. 12

12                  Apple’s commercials show people using iPhones in their beds, 13 even being held against

13   a person’s body as they fall asleep while watching a video. 14

14                  Following Apple’s lead, Samsung launched the first android-based smartphone in April

15   2009. The Galaxy S series of smartphones has made Samsung the biggest seller of smartphones in the

16   world.

17                  Like Apple, Samsung advertises people using its smartphones in close proximity to their

18   bodies.

19                  For example, one commercial shows a pregnant woman lying in bed and touching the

20   cell phone to her belly to take a sonogram of her child in utero. In the same commercial, a child has s

21   smartphone tucked into his backpack. 15

22

23             11
                https://www.ispot.tv/ad/wC3Y/apple-iphone-x-sway-song-by-sam-smith (last accessed
     August 23, 2019).
24           12
                https://www.ispot.tv/ad/I9eg/apple-iphone-privacy-on-iphone-inside-joke (last accessed
25   August 23, 2019).
             13
                https://www.ispot.tv/ad/IjPm/apple-iphone-xr-and-xs-depth-control-alejandro;
26   https://www.ispot.tv/ad/I_8y/apple-iphone-private-side (last accessed August 23, 2019).
             14
                https://www.ispot.tv/ad/oVp4/apple-iphone-xr-battery-life-up-late-song-by-julie-andrews
27   (last accessed August 23, 2019).
             15
                https://www.adsoftheworld.com/media/film/samsung_samsung_galaxy_the_future (last
28
     accessed August 23, 2019).
                                                          9
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 1                  Another commercial shows a hiker take the Samsung phone out of her back pants’

 2   pocket at the summit. 16

 3                  Thus, at all relevant times, Defendants have touted the use of their smartphones as being

 4   safe and appropriate to use while touching or within close proximity to the human body.

 5         C. The Dangers of Cellphone Exposure

 6                     1. Radio Frequency (RF) Exposure

 7                  Cellphones use radio waves to communicate with a vast network of fixed installations

 8   called base stations or cell towers. These radio waves are a form of electromagnetic radiation, in the

 9   same frequency range used by TVs and microwave ovens.

10                  The public relations position from cellphone manufacturers, including Defendants, is

11   that this kind of radiation, also known as radio frequency (RF) exposure, is not the same as ionizing

12   radiation, such as gamma rays and X-rays, which can strip electrons from atoms and cause serious

13   biological harm, including cancer.

14                  However, RF exposure, sometimes also called non-ionizing electromagnetic field

15   exposure, at high levels can heat biological tissue and cause harm. Eyes and testes are especially

16   vulnerable because they do not dispel heat rapidly.

17                  In fact, in 2015, more than 150 scientists from around the world sent an appeal to the

18   United Nations and World Health Organization, calling for more protective RF exposure guidelines,
19   and education of the public concerning the attendant health risks, particularly to children and fetal

20   development.

21                  The appeal, titled “International Appeal: Scientists call for Protection from Non-

22   ionizing Electromagnetic Field Exposure,” was signed by 40 scientists in the United States, including

23   a Member of the U.S. National Academies of Sciences Committee for Radio Frequencies; a retired

24   leader of the National Toxicology Project’s health effects studies of cell phone radio frequency

25   radiation under the National Institute of Environmental Health Sciences; and multiple physicians and

26   scientists from esteemed universities, such as Harvard, Columbia, UCLA, USC and others.

27
            16
              https://www.bestadsontv.com/ad/107658/Samsung-Do-What-You-Cant (last accessed
28
     August 23, 2019).
                                                        10
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 1                 In relevant part, the appeal explained the risk of RF exposure:

 2
                  Numerous recent scientific publications have shown that EMF affects living organisms at
 3                levels well below most international and national guidelines. Effects include increased
 4                cancer risk, cellular stress, increase in harmful free radicals, genetic damages, structural
                  and functional changes of the reproductive system, learning and memory deficits,
 5                neurological disorders, and negative impacts on general well-being in humans.

 6                 Moreover, in the fall of 2018, in one of the largest studies to date, the National

 7   Toxicology Program (“NTP”), a research group within the National Institutes of Health, U.S.

 8   Department of Health and Human Services, found that high exposure to the kind of radiofrequency

 9   radiation used by cellphones was associated with “clear evidence” of cancerous heart tumors in male

10   rats.

11                 The NTP studies were conducted to test the assumption that cell phone radiofrequency

12   radiation could not cause cancers or other adverse health effects (other than by tissue heating) because

13   this type of radiation (non-ionizing) did not have sufficient energy to break chemical bonds. 17

14                 The results of the NTP studies demonstrated that cell phone radiation caused Schwann

15   cell cancers of the heart and brain gliomas in rats, as well as DNA damage in the brain. 18

16                 Consistent with these findings, in May 2011, the International Agency for Research on

17   Cancer (IARC), a part of the World Health Organization, classified radio-frequency radiation from

18   wireless devices as a “possible human carcinogen” based largely on findings of increased risks of

19   gliomas (a malignant type of brain cancer) and Schwann cell tumors in the brain near the ear in

20   humans after long term use of cellphones. 19 Thus, the same tumor types are elevated in both animals

21   and humans exposed to cell phone radiation.

22                     2. Testing for RF Exposure

23                 When cellphones hit the market in the 1980s, authorities focused on setting an exposure

24   limit to address only the heating risks of cellphones. Scientists found that animals showed adverse

25           17
               https://thehill.com/opinion/healthcare/416515-theres-a-clear-cell-phone-cancer-link-but-fda-
26   is-downplaying-it (last accessed August 23, 2019).
            18
               https://thehill.com/opinion/healthcare/416515-theres-a-clear-cell-phone-cancer-link-but-fda-
27   is-downplaying-it (last accessed August 23, 2019).
            19
               https://www.iarc.fr/wp-content/uploads/2018/07/pr208_E.pdf (last accessed August 23,
28
     2019).
                                                        11
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 1   effects when exposed to enough radiofrequency radiation to raise their body temperature by 1 degree

 2   Celsius. Authorities used this finding to help calculate a safety limit for humans, building in a 50-fold

 3   safety factor.

 4                    The final rule, adopted by the Federal Communications Commission (“FCC”) in 1996,

 5   stated that cellphone users cannot potentially absorb more than 1.6 watts per kilogram averaged over

 6   one gram of tissue. To demonstrate compliance, phone makers were told to conduct two tests: when

 7   the devices were held against the head and when held up to an inch from the body.

 8                    Before a new cellphone model can be brought to market, a sample phone must be tested

 9   and comply with an exposure standard for radiofrequency radiation.

10                    Companies testing a new phone for compliance with the safety limit are permitted to

11   position the phone up to 25 millimeters away from the body — nearly an inch — depending on how

12   the device is used.

13                    Nonetheless, on its website, in the “Legal” section, Apple warrants that it tests the

14   iPhone at the “highest transmission levels and placed in positions that simulate uses against the head,

15   with no separation, and when worn or carried against the torso of the body, with 10mm separation.” 20

16   ///

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23   ///

24   ///

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27           20
               https://www.apple.com/legal/rfexposure/iphone5,1/en/ (emphasis supplied) (last accessed
     August 23, 2019). Apple also warrants that it tests its iPods at 5mm separation.
28
     https://www.apple.com/legal/rfexposure/ipod5,1/en/ (last accessed August 23, 2019).
                                                           12
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                   For some past models, Apple’s website told users of the iPhone 4 and 4s: “Carry iPhone
18
     at least 10mm away from your body to ensure exposure levels remain at or below the as-tested
19
     levels.” The site says those phones were tested at a distance of 10 millimeters.
20
                   When Apple submitted its application to the FCC to market the iPhone 7, the company
21
     included a similarly worded radiation statement, suggesting users carry the device at least 5
22
     millimeters from the body, records show.
23
                   But iPhone 7s (and subsequent models) sold to the public did not include that advice. 21
24
                   Similarly, on its website, Samsung provides users the opportunity to check the RF
25
     emission levels on its website. Samsung represents not only its smartphones meet federal
26

27
     21
       https://www.chicagotribune.com/investigations/ct-cell-phone-radiation-testing-20190821-
28
     72qgu4nzlfda5kyuhteiieh4da-story.html (last accessed August 23, 2019).
                                                        13
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 1   requirements, but also that “Body-worn SAR testing has been carried out at a separation distance of

 2   0.0 cm.” Samsung thus implies that using, carrying or wearing its smartphones on or in close

 3   proximity to the human body is completely safe.

 4                       3. Testing RF Exposure Shows Clear Risk to Plaintiffs and the Class

 5                    Beginning in or about August 2018, the Chicago Tribune hired RF Exposure Lab in San

 6   Marcos, California to measure eleven different cellphone models for radiofrequency radiation. 22

 7                    RF Exposure, an accredited testing lab recognized by the FCC, has conducted radiation

 8   tests for fifteen years for wireless companies seeking FCC approval for new products. 23

 9                    In August and October 2018, twelve phones were tested: three iPhone 7s, an iPhone X,

10   an iPhone 8, an iPhone 8 Plus, a Galaxy S9, a Galaxy S8, a Galaxy J3, a Moto e5 Play, a Moto g6

11   Play and a Vivo 5 Mini (collectively, the “Affected Phones”). 24

12                    According to the lab, all of the tests were done in accordance with FCC rules and

13   guidelines. 25

14                    In one phase of the testing, all phones were positioned at the same distance from the

15   simulated body tissue that the manufacturers chose for their own tests — from 5 to 15 millimeters,

16   depending on the model. 26

17                    Prior to each test, the laboratory reviewed the publicly-available testing data that phone

18   manufacturers had submitted to the FCC to demonstrate compliance with radiofrequency radiation
19   limits and gain permission to market the devices. 27

20                    For each phone model, the laboratory determined which licensed band, frequency and

21   channel yielded the highest radiofrequency radiation reading in the manufacturer’s own tests, and then

22   replicated this configuration. 28

23

24   22
        https://www.chicagotribune.com/investigations/ct-cell-phone-radiation-testing-methodology--
25   20190821-whddrljk6fbmxoqh25u5t7lkb4-story.html (last accessed August 23, 2019).
     23
        Id.
     24
26      Id. Plaintiffs expect that the list of smartphones included in this group will expand with discovery.
     25
        Id.
27   26
        Id.
     27
        Id.
28   28
        Id.
                                                           14
                                              CLASS ACTION COMPLAINT
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 1                 To conduct the tests, each phone was placed underneath a tub containing specially

 2   formulated liquid intended to simulate the electrical properties of human body tissue. 29

 3                 The laboratory used a base station simulator to place a call to the phone and adjusted the

 4   base station’s settings to replicate the desired configuration, causing the phone to operate at full

 5   power. 30

 6                 A probe attached to a robotic arm then moved in the liquid for eighteen minutes, taking

 7   276 measurements of the radiofrequency radiation absorbed. The results constituted the Specific

 8   Absorption Rate, or SAR, which must be under the federal safety limit. 31

 9                 Two tests were conducted on each phone. In the first tests, each device was placed the

10   same distance away from the outside of the tub that the manufacturers selected when they tested the

11   phone. 32

12                 In the second test, the phones were placed 2 millimeters from the tub, a smaller distance

13   meant to reflect a phone being carried in a pants or shirt pocket, based on actual measurements of

14   pieces of dress shirts, T-shirts, jeans, track pants and underwear. 33

15                 In a second round of testing in March 2019, a person touched or grasped the originally-

16   tested iPhones, plus one additional one, for the duration of the process. This was action intended to

17   activate sensors designed to reduce the phones’ power. 34

18                 The results by model follow.
19                  For the iPhone 7 models, in the original or standard test at 5 millimeters, the RF

20   exposure averaged 2.59 W/kg – more than the 1.6 W/kg limit. In the second or modified test at 5

21   millimeters, the RF exposure averaged 3.225 W/kg – more than twice the federal exposure limit. 35 At

22   2 millimeters, results from the original and modified tests ranged from 3.5 W/kg to 7.15 W/kg.

23

24   29
        Id.
     30
25      Id.
     31
        Id.
     32
26      Id.
     33
        Id.
27   34
        Id.
     35
        https://www.chicagotribune.com/investigations/ct-cell-phone-radiation-testing-20190821-
28
     72qgu4nzlfda5kyuhteiieh4da-story.html (last accessed August 23, 2019).
                                                         15
                                            CLASS ACTION COMPLAINT
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16                The Apple iPhone X and iPhone 8 each scored three out of four tests above the federal
17   limit of 1.6W/kg:
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                                         CLASS ACTION COMPLAINT
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 1

 2                 When tested at 2 millimeters, the Samsung Galaxy S8 exceeded the federal limit by

 3   more than 500 percent:

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                   These results are not an aberration, but instead reflect actual emissions conducted by an
21
     FCC-accredited laboratory under the same conditions used by the manufacturers themselves.
22
                   Notwithstanding these results and the studies reflecting the dangers inherent at these
23
     levels, Defendants have failed to take steps to prevent this excessive RF radiation exposure or to warn
24
     Plaintiffs and the Class of the dangers associated with using their products.
25
                                   VI.   CLASS ACTION ALLEGATIONS
26
                   The Apple Plaintiffs bring this action as a class action pursuant to Federal Rules of Civil
27
     Procedure 23(a) and 23(b) on behalf of themselves and all others similarly situated as members of the
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                                                        17
                                           CLASS ACTION COMPLAINT
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 1   following “Apple Class”: “All persons who purchased an iPhone 7, 8, or X for personal or household

 2   use in the United States.”

 3                 The Samsung Plaintiffs bring this action as a class action pursuant to Federal Rules of

 4   Civil Procedure 23(a) and 23(b) on behalf of themselves and all others similarly situated as members

 5   of the following “Samsung Class”: “All persons who purchased a Samsung Galaxy S8, S9, or J3 for

 6   personal or household use in the United States.”

 7                 Specifically excluded from the proposed Classes are Defendants, any of their past,

 8   present or future officers, directors, trustees, agents, representatives, employees, principals, trusts,

 9   partners, joint ventures or controlled entities; any successors, assigns, heirs or other persons or entities

10   related to or affiliated with Defendants; the Judge assigned to this action; and any member of the

11   Judge’s immediate family.

12                 Numerosity. The members of the Classes are so numerous as to render their individual

13   joinder impracticable. Although the precise number of Class members is unknown, based upon

14   information and belief Plaintiffs allege that the Class contains millions of members.

15                 The true number of Class members is known by Defendants, however, and, thus, may

16   be notified of the pendency of this action through electronic mail, first class mail and/or by published

17   notice.

18                 Existence and Predominance of Common Questions of Law and Fact. Common
19   questions of law and fact applicable to all members of the Class predominate over any questions

20   affecting only individual Class members. These common legal and factual questions include, but are

21   not limited to, the following:

22                a. Whether Apple and Samsung properly tested their smartphones before selling them to

23                    the Plaintiffs and the Class;

24                b. Whether Apple and Samsung represented and/or warranted that their smartphones

25                    were safe for ordinary use;

26                c. Whether the smartphones were safe for ordinary use;

27                d. Whether the RF radiation from the smartphones placed Plaintiffs and Class members

28                    at risk for cancer and other health problems;
                                                          18
                                             CLASS ACTION COMPLAINT
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 1                e. Whether Defendants owed a duty to Plaintiffs and Class members to disclose the

 2                    dangers of their smartphones;

 3                f. Whether Defendants intentionally misrepresented the safety of the Plaintiffs’ and

 4                    Class members’ smartphones to them and the public;

 5                g. Whether Plaintiffs or Class Members are entitled to medical monitoring;

 6                h. Whether Plaintiffs and the members of the Class have sustained financial loss, and the

 7                    proper measure of any such financial loss;

 8                i. Whether Plaintiffs and the members of the Class are entitled to restitution;

 9                j. Whether Plaintiffs and the members of the Class are entitled to damages, and the

10                    proper measure of any such damages.

11                 Typicality. Plaintiffs’ claims are typical of those held by the other members of the Class

12   in that each of them own one of Defendants’ smartphones that exceed federal RF radiation exposure

13   limits.

14                 Adequacy of Representation. Plaintiffs will fairly and adequately protect the interests of

15   the Class. Plaintiffs have retained trial counsel highly experienced in complex litigation including

16   complex consumer class action litigation, and Plaintiffs intend to vigorously prosecute this action.

17   Plaintiffs have no interests in this action that are adverse or antagonistic to the interests of the Class.

18                 Superiority. Class action litigation is superior to all other available means for the fair
19   and efficient adjudication of this controversy. The damages, harm and financial detriment suffered by

20   individual members of the Class are relatively minor compared to the burden and expense that would

21   be entailed by individual prosecution of their claims against Defendants.

22                 It would thus be practically impossible for the members of the Class, on an

23   individualized basis, to effectively seek and obtain redress for the wrongs committed against them. In

24   addition, even if the Class members could —and realistically would be willing—to pursue such

25   individualized litigation, this Court likely could not reasonably sustain the imposition on resources

26   that individualized litigation over this controversy would entail.

27                 Further, individualized litigation would create the danger of inconsistent or

28   contradictory judgments arising from the identical factual predicate.
                                                          19
                                             CLASS ACTION COMPLAINT
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 1                    Individualized litigation would also result in a substantial increase in the time and

 2   expense required of the parties and the Court to address the issues raised by this litigation.

 3                    By contrast, litigation of the controversy outlined herein as a class action provides the

 4   benefits of adjudication of these issues in a single, unitary proceeding, provides substantial economies

 5   of scale, allows comprehensive supervision of the legal and factual issues raised herein by a single

 6   court, and presents no unusual management difficulties under the circumstances presented here.

 7                    Damages may be calculated from the data maintained in Defendants’ and third-party

 8   carriers’ records, so that the cost of administering a recovery for the Class can be minimized. The

 9   precise measure of damages available to Plaintiffs and the Class, however, is not a barrier to class

10   certification.

11                                           VII. CLAIMS ALLEGED

12
                                                COUNT I
13                              NEGLIGENT MISPRESENTATION AGAINST APPLE
14                    The Apple Plaintiffs incorporate by reference all other paragraphs of this Complaint as
15   if fully set forth here.
16                    Apple had a duty to communicate accurate information to Plaintiffs about the RF
17   exposure from their iPhones.
18                    Defendant intentionally misrepresented the safety of the iPhones, assuring Class
19   Members that the iPhones had been adequately tested, and were safe to use on and in close proximity
20   to their bodies at all hours of the day and night, despite information within its knowledge indicating
21   that the RF exposure was linked to cancer and other health risks.
22                    Even when repeatedly faced with a wealth of warnings from scientists and the dangers
23   associated with RF exposure from smartphones, Defendant continues to make no effort to protect or
24   warn current or prospective owners of its iPhones. Rather, Defendant has turned a blind eye to these
25   inconvenient truths, opting to double-down on statements that the iPhones are safe to use without
26   restriction on placement.
27

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                                              CLASS ACTION COMPLAINT
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 1                  Plaintiffs, in reliance on Defendant’s claims regarding the ways in which the iPhone was

 2   safe to and should be used, continued to use and place the iPhone on and in close proximity to their

 3   bodies.

 4                  Plaintiffs’ reliance was justified given Defendant’s superior position of authority and

 5   knowledge.

 6                  As a result, on information and belief, Plaintiffs have been exposed to harmful levels of

 7   RF radiation that could negatively affect their health for many years to come.

 8                  Plaintiffs and Class members are thus entitled to the establishment of a medical

 9   monitoring program that includes, among other things: (i) Establishing a trust fund, in an amount to

10   be determined, to pay for the medical monitoring of all Class members; and (2) Notifying all Class

11   members in writing that they may require frequent medical monitoring necessary to diagnose

12   conditions resulting from RF radiation exposure.

13
                                          COUNT II
14                       NEGLIGENT MISPRESENTATION AGAINST SAMSUNG
15                  The Samsung Plaintiffs incorporate by reference all other paragraphs of this Complaint
16   as if fully set forth here.
17                  Samsung had a duty to communicate accurate information to Plaintiffs about the RF
18   exposure from their iPhones.
19                  Defendant intentionally misrepresented the safety of the iPhones, assuring Class
20   Members that the iPhones had been adequately tested, and were safe to use on and in close proximity
21   to their bodies at all hours of the day and night, despite information within its knowledge indicating
22   that the RF exposure was linked to cancer and other health risks.
23                  Even when repeatedly faced with a wealth of warnings from scientists and the dangers
24   associated with RF exposure from smartphones, Defendant continues to make no effort to protect or
25   warn current or prospective owners of its iPhones. Rather, Defendant has turned a blind eye to these
26   inconvenient truths, opting to double-down on statements that the iPhones are safe to use without
27   restriction on placement.
28
                                                         21
                                            CLASS ACTION COMPLAINT
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 1                    Plaintiffs, in reliance on Defendant’s claims regarding the ways in which the iPhone was

 2   safe to and should be used, continued to use and place the iPhone on and in close proximity to their

 3   bodies.

 4                    Plaintiffs’ reliance was justified given Defendant’s superior position of authority and

 5   knowledge.

 6                    As a result, on information and belief, Plaintiffs have been exposed to harmful levels of

 7   RF radiation that could negatively affect their health for many years to come.

 8                    Plaintiffs and Class members are thus entitled to the establishment of a medical

 9   monitoring program that includes, among other things: (i) Establishing a trust fund, in an amount to

10   be determined, to pay for the medical monitoring of all Class members; and (2) Notifying all Class

11   members in writing that they may require frequent medical monitoring necessary to diagnose

12   conditions resulting from RF radiation exposure.
                                                 COUNT III
13                                   NEGLIGENCE AGAINST APPLE
14                    The Apple Plaintiffs incorporate by reference all other paragraphs of this Complaint as
15   if fully set forth here.
16                    Apple owed Plaintiffs a duty to exercise reasonable care in selling smartphones that
17   emitted RF radiation at safe levels when placed on or in close proximity to their bodies.
18                    Defendant failed to exercise reasonable care when, after knowingly designing and
19   manufacturing iPhones whose RF exposure exceeded safe limits when used on or in close proximity
20   to the human body, it did not take any measures to warn or protect Plaintiffs and Class members from
21   RF exposure and, instead, covered up any risks by misrepresenting the safety of the smartphones.
22                    Defendant knew or should have known that Plaintiffs and the Class members would
23   foreseeably suffer injury from RF radiation exposure as a result of Defendant’s failure to exercise
24   ordinary care.
25                    Defendant’s negligence proximately caused Plaintiffs’ and the Class members’ damages
26   and their increased risk of harm as documented herein.
27                    Plaintiffs and Class members are therefore entitled to the establishment of a medical
28   monitoring program that includes, among other things: (1) Establishing a trust fund, in an amount to
                                                           22
                                              CLASS ACTION COMPLAINT
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 1   be determined, to pay for the medical monitoring of all Class members; and (2) Notifying all Class

 2   members in writing that they may require frequent medical monitoring necessary to diagnose

 3   conditions resulting from RF radiation exposure.

 4
                                               COUNT IV
 5                                    NEGLIGENCE AGAINST SAMSUNG
 6                    The Samsung Plaintiffs incorporate by reference all other paragraphs of this Complaint
 7   as if fully set forth here.
 8                    Samsung owed Plaintiffs a duty to exercise reasonable care in selling smartphones that
 9   emitted RF radiation at safe levels when placed on or in close proximity to their bodies.
10                    Defendant failed to exercise reasonable care when, after knowingly designing and
11   manufacturing iPhones whose RF exposure exceeded safe limits when used on or in close proximity
12   to the human body, it did not take any measures to warn or protect Plaintiffs and Class members from
13   RF exposure and, instead, covered up any risks by misrepresenting the safety of the smartphones.
14                    Defendant knew or should have known that Plaintiffs and the Class members would
15   foreseeably suffer injury from RF radiation exposure as a result of Defendant’s failure to exercise
16   ordinary care.
17                    Defendant’s negligence proximately caused Plaintiffs’ and the Class members’ damages
18   and their increased risk of harm as documented herein.
19                    Plaintiffs and Class members are therefore entitled to the establishment of a medical
20   monitoring program that includes, among other things: (1) Establishing a trust fund, in an amount to
21   be determined, to pay for the medical monitoring of all Class members; and (2) Notifying all Class
22   members in writing that they may require frequent medical monitoring necessary to diagnose
23   conditions resulting from RF radiation exposure.
24                                     COUNT V
         VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW (CAL. BUS. &
25                    PROF. CODE § 17200 ET SEQ.) AGAINST APPLE
26                    The Apple Plaintiffs incorporate by reference all paragraphs as though fully set forth
27   herein.
28                    This claim is brought by the Apple Plaintiffs on behalf of the nationwide Apple Class.
                                                          23
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 1                 California’s Unfair Competition Law (UCL), CAL. BUS. & PROF. CODE § 17200 et

 2   seq., proscribes acts of unfair competition, including “any unlawful, unfair or fraudulent business act

 3   or practice and unfair, deceptive, untrue or misleading advertising.” Defendant’s conduct, as

 4   described herein, was and is in violation of the UCL.

 5                 Defendant’s conduct violates the UCL in at least the following ways: Defendant failed

 6   to disclose that the Affected Phones (i) emitted RF radiation exposure when used or carried on or in

 7   close proximity to the human body at unsafe levels; and (ii) that the RF radiation exposure was far

 8   worse than a reasonable consumer would expect given the premium paid for these smartphones over a

 9   cellphone.

10                 Defendant intentionally and knowingly misrepresented material facts regarding the

11   Affected Phones with an intent to mislead Plaintiffs and the Class.

12                 In purchasing or leasing the Affected Phones, Plaintiffs and the other Class members

13   were deceived by Defendant’s failure to disclose that the phones emitted RF radiation exposure when

14   used or carried on or in close proximity to the human body at unsafe levels.

15                 Plaintiffs relied upon Defendant’s false misrepresentations when purchasing their

16   phones and as a result suffered an injury-in-fact and lost money.

17                 Plaintiffs relied on Defendant’s material representations and/or omissions that the

18   Affected iPhones they were purchasing were safe to use and free from defects.
19                 Defendant owed Plaintiffs and the Class a duty to disclose the truth about its the RF

20   radiation exposure from its Affected Phones, because Defendant: (i) possessed exclusive knowledge

21   of the levels of RF radiation exposure emitted from its phones; and (ii) misrepresented and/or made

22   incomplete representations concerning the levels of RF radiation exposure when the phones were used

23   or carried on or in close proximity to the body.

24                 Plaintiffs and the other Class members were injured and suffered ascertainable loss,

25   injury-in-fact, and/or actual damage as a proximate result of Defendant’s conduct in that Plaintiffs and

26   the other Class members overpaid for their smartphones, and/or their smartphones have suffered a

27   diminution in value. These injuries are the direct and natural consequence of Defendant’s

28   misrepresentations and omissions.
                                                        24
                                           CLASS ACTION COMPLAINT
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 1                 Defendant’s violations present a continuing risk to Plaintiffs as well as to the general

 2   public. Defendant’s unlawful acts and practices complained of herein affect the public interest.

 3                 Absent those misrepresentations and omissions, Plaintiffs and the other Class members

 4   would not have purchased or leased these smartphones, would not have purchased or leased these

 5   smartphones at the prices they paid, and/or would have purchased or leased less expensive alternative

 6   cellphones that did not emit RF radiation exposure at unsafe levels.

 7                 Accordingly, Plaintiffs and the other Class members have suffered injury in fact,

 8   including lost money or property, as a result of Defendant’s misrepresentations and omissions.

 9                 Plaintiffs request that this Court enter such orders or judgments as may be necessary to

10   restore to Plaintiffs and members of the Class any money it acquired by unfair competition, including

11   restitution and/or restitutionary disgorgement, as provided in CAL. BUS. & PROF. CODE § 17203

12   and CAL. CIV. CODE § 3345; and for such other relief as may be appropriate.

13
                                     COUNT VI
14      VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW (CAL. BUS. &
15                 PROF. CODE § 17200 ET SEQ.) AGAINST SAMSUNG
                   The Samsung Plaintiffs incorporate by reference all paragraphs as though fully set forth
16
     herein.
17
                   This claim is brought by the Samsung Plaintiffs on behalf of the nationwide Samsung
18
     Class.
19
                   California’s Unfair Competition Law (UCL), CAL. BUS. & PROF. CODE § 17200 et
20
     seq., proscribes acts of unfair competition, including “any unlawful, unfair or fraudulent business act
21
     or practice and unfair, deceptive, untrue or misleading advertising.” Defendant’s conduct, as
22
     described herein, was and is in violation of the UCL.
23
                   Defendant’s conduct violates the UCL in at least the following ways: Defendant failed
24
     to disclose that the Affected Galaxy Phones (i) emitted RF radiation exposure when used or carried on
25
     or in close proximity to the human body at unsafe levels; and (ii) that the RF radiation exposure was
26
     far worse than a reasonable consumer would expect given the premium paid for these smartphones
27
     over a cellphone.
28
                                                        25
                                           CLASS ACTION COMPLAINT
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 1                 Defendant intentionally and knowingly misrepresented material facts regarding the

 2   Affected Phones with an intent to mislead Plaintiffs and the Class.

 3                 In purchasing or leasing the Affected Phones, Plaintiffs and the other Class members

 4   were deceived by Defendant’s failure to disclose that the phones emitted RF radiation exposure when

 5   used or carried on or in close proximity to the human body at unsafe levels.

 6                 Plaintiffs relied upon Defendant’s false misrepresentations when purchasing their

 7   phones and as a result suffered an injury-in-fact and lost money.

 8                 Plaintiffs relied on Defendant’s material representations and/or omissions that the

 9   Affected Phones they were purchasing were safe to use and free from defects.

10                 Defendant owed Plaintiffs and the Class a duty to disclose the truth about its the RF

11   radiation exposure from its Affected Phones, because Defendant: (i) possessed exclusive knowledge

12   of the levels of RF radiation exposure emitted from its phones; and (ii) misrepresented and/or made

13   incomplete representations concerning the levels of RF radiation exposure when the phones were used

14   or carried on or in close proximity to the body.

15                 Plaintiffs and the other Class members were injured and suffered ascertainable loss,

16   injury-in-fact, and/or actual damage as a proximate result of Defendant’s conduct in that Plaintiffs and

17   the other Class members overpaid for their smartphones, and/or their smartphones have suffered a

18   diminution in value. These injuries are the direct and natural consequence of Defendant’s
19   misrepresentations and omissions.

20                 Defendant’s violations present a continuing risk to Plaintiffs as well as to the general

21   public. Defendant’s unlawful acts and practices complained of herein affect the public interest.

22                 Absent those misrepresentations and omissions, Plaintiffs and the other Class members

23   would not have purchased or leased these smartphones, would not have purchased or leased these

24   smartphones at the prices they paid, and/or would have purchased or leased less expensive alternative

25   cellphones that did not emit RF radiation exposure at unsafe levels.

26                 Accordingly, Plaintiffs and the other Class members have suffered injury in fact,

27   including lost money or property, as a result of Defendant’s misrepresentations and omissions.

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                                                        26
                                           CLASS ACTION COMPLAINT
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 1                 Plaintiffs request that this Court enter such orders or judgments as may be necessary to

 2   restore to Plaintiffs and members of the Class any money it acquired by unfair competition, including

 3   restitution and/or restitutionary disgorgement, as provided in CAL. BUS. & PROF. CODE § 17203

 4   and CAL. CIV. CODE § 3345; and for such other relief as may be appropriate.

 5                                    COUNT VII
     VIOLATIONS OF THE CALIFORNIA CONSUMERS LEGAL REMEDIES ACT (CAL. CIV.
 6                     CODE. §§ 1750, ET SEQ.) AGAINST APPLE
 7                 The Apple Plaintiffs incorporate by reference all paragraphs as though fully set forth

 8   herein.

 9                 This claim is brought by the Apple Plaintiffs on behalf of the nationwide Apple Class.

10                 Defendant violated the California Consumers Legal Remedies Act (CLRA) in numerous

11   respects. Defendant failed to disclose that the Affected Phones (i) emitted RF radiation exposure when

12   used or carried on or in close proximity to the human body at unsafe levels; and (ii) that the RF

13   radiation exposure was far worse than a reasonable consumer would expect given the premium paid

14   for these smartphones over a cellphone.

15                 Defendant intentionally and knowingly misrepresented material facts regarding the

16   Affected Phones with an intent to mislead Plaintiffs and the Class.

17                 In purchasing or leasing the Affected Phones, Plaintiffs and the other Class members

18   were deceived by Defendant's failure to disclose that the phones emitted RF radiation exposure when

19   used or carried on or in close proximity to the human body at unsafe levels.

20                 Plaintiffs and Class members reasonably relied upon Defendant's false

21   misrepresentations and omissions. They had no way of knowing that Defendant's representations were

22   false and gravely misleading. Plaintiffs and Class members did not, and could not, unravel

23   Defendant's deception on their own.

24                 Defendant knew or should have known that its conduct violated the CLRA.

25                 Defendant owed Plaintiffs and the Class a duty to disclose the truth about its the RF

26   radiation exposure from its Affected Phones, because Defendant: (i) possessed exclusive knowledge

27   of the levels of RF radiation exposure emitted from its phones; and (ii) misrepresented and/or made

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                                                        27
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 1   incomplete representations concerning the levels of RF radiation exposure when the phones were used

 2   or carried on or in close proximity to the body.

 3                  Plaintiffs and the other Class members relied on Defendant's material representations

 4   and/or omissions that the Affected iPhones they were purchasing were safe to use and free from

 5   defects.

 6                  Defendant's conduct proximately caused injuries to Plaintiffs and the other Class

 7   members.

 8                  Plaintiffs and the other Class members were injured and suffered ascertainable loss,

 9   injury-in-fact, and/or actual damage as a proximate result of Defendant's conduct in that Plaintiffs and

10   the other Class members overpaid for their smartphones, and/or their smartphones have suffered a

11   diminution in value. These injuries are the direct and natural consequence of Defendant's

12   misrepresentations and omissions.

13                  Defendant's misrepresentations and omissions alleged herein caused Plaintiffs and the

14   other Class members to make their purchases or leases of their Affected Phones.

15                  Absent those misrepresentations and omissions, Plaintiffs and the other Class members

16   would not have purchased or leased these smartphones, would not have purchased or leased these

17   smartphones at the prices they paid, and/or would have purchased or leased less expensive alternative

18   cellphones that did not emit RF radiation exposure at unsafe levels.
19                  Plaintiffs were deceived by Apple’s failure to disclose the true nature of its

20   Smartphones.

21                  Plaintiffs demand judgment against Defendant under the CLRA for injunctive relief as

22   may be appropriate and an award of attorneys' fees and costs.

23                  Plaintiffs have provided Defendant with notice of its violations of the CLRA pursuant to

24   CAL. CIV. CODE § 1782(a). The notice was transmitted to Defendant on August 23, 2019. If after

25   thirty days of receipt of this letter, Defendant has failed to adequately address the violations alleged

26   herein, Plaintiffs will amend the complaint to add a claim for damages under the CLRA.

27

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                                                         28
                                            CLASS ACTION COMPLAINT
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 1                                   COUNT VIII
     VIOLATIONS OF THE CALIFORNIA CONSUMERS LEGAL REMEDIES ACT (CAL. CIV.
 2                   CODE. §§ 1750, ET SEQ.) AGAINST SAMSUNG
 3                 The Samsung Plaintiffs incorporate by reference all paragraphs as though fully set forth
 4   herein.
 5                 This claim is brought by the Samsung Plaintiffs on behalf of the nationwide Samsung
 6   Class.
 7                 Defendant violated the California Consumers Legal Remedies Act (“CLRA”) in
 8   numerous respects. Defendant failed to disclose that the Affected Phones (i) emitted RF radiation
 9   exposure when used or carried on or in close proximity to the human body at unsafe levels; and (ii)
10   that the RF radiation exposure was far worse than a reasonable consumer would expect given the
11   premium paid for these smartphones over a cellphone.
12                 Defendant intentionally and knowingly misrepresented material facts regarding the
13   Affected Phones with an intent to mislead Plaintiffs and the Class.
14                 In purchasing or leasing the Affected Phones, Plaintiffs and the other Class members
15   were deceived by Defendant’s failure to disclose that the phones emitted RF radiation exposure when
16   used or carried on or in close proximity to the human body at unsafe levels.
17                 Plaintiffs and Class members reasonably relied upon Defendant's false
18   misrepresentations and omissions. They had no way of knowing that Defendant's representations were
19   false and gravely misleading. Plaintiffs and Class members did not, and could not, unravel
20   Defendant's deception on their own.
21                 Defendant knew or should have known that its conduct violated the CLRA.
22                 Defendant owed Plaintiffs and the Class a duty to disclose the truth about its the RF
23   radiation exposure from its Affected Phones, because Defendant: (i) possessed exclusive knowledge
24   of the levels of RF radiation exposure emitted from its phones; and (ii) misrepresented and/or made
25   incomplete representations concerning the levels of RF radiation exposure when the phones were used
26   or carried on or in close proximity to the body.
27

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                                                        29
                                           CLASS ACTION COMPLAINT
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 1                  Plaintiffs and the other Class members relied on Defendant's material representations

 2   and/or omissions that the Affected Phones they were purchasing were safe to use and free from

 3   defects.

 4                  Defendant's conduct proximately caused injuries to Plaintiffs and the other Class

 5   members.

 6                  Plaintiffs and the other Class members were injured and suffered ascertainable loss,

 7   injury-in-fact, and/or actual damage as a proximate result of Defendant's conduct in that Plaintiffs and

 8   the other Class members overpaid for their smartphones, and/or their smartphones have suffered a

 9   diminution in value. These injuries are the direct and natural consequence of Defendant's

10   misrepresentations and omissions.

11                  Defendant's misrepresentations and omissions alleged herein caused Plaintiffs and the

12   other Class members to make their purchases or leases of their Affected Phones.

13                  Absent those misrepresentations and omissions, Plaintiffs and the other Class members

14   would not have purchased or leased these smartphones, would not have purchased or leased these

15   smartphones at the prices they paid, and/or would have purchased or leased less expensive alternative

16   cellphones that did not emit RF radiation exposure at unsafe levels.

17                  Plaintiffs were deceived by Samsung’s failure to disclose the true nature of its

18   Smartphones.
19                  Plaintiffs demand judgment against Defendant under the CLRA for injunctive relief as

20   may be appropriate and an award of attorneys’ fees and costs.

21                  Plaintiffs have provided Defendant with notice of its violations of the CLRA pursuant to

22   CAL. CIV. CODE § 1782(a). The notice was transmitted to Defendant on August 23, 2019. If after

23   thirty days of receipt of this letter, Defendant has failed to adequately address the violations alleged

24   herein, Plaintiffs will amend the complaint to add a claim for damages under the CLRA.

25                                    COUNT IX
26    VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW (CAL. BUS. & PROF.
                        CODE § 17500 ET SEQ.) AGAINST APPLE
27
                    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.
28
                                                         30
                                            CLASS ACTION COMPLAINT
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 1                 This claim is brought by the Apple Plaintiffs on behalf of purchasers who are members

 2   of the Apple Class.

 3                 CAL. BUS. & PROF. CODE § 17500 states: "It is unlawful for any . . . corporation . . .

 4   with intent directly or indirectly to dispose of real or personal property . . . to induce the public to

 5   enter into any obligation relating thereto, to make or disseminate or cause to be made or disseminated

 6   . . . from this state before the public in any state, in any newspaper or other publication, or any

 7   advertising device, . . . or in any other manner or means whatever, including over the Internet, any

 8   statement . . . which is untrue or misleading, and which is known, or which by the exercise of

 9   reasonable care should be known, to be untrue or misleading."

10                 Defendant failed to disclose that the that the Affected iPhones (i) emitted RF radiation

11   exposure when used or carried on or in close proximity to the human body at unsafe levels; and (ii)

12   that the RF radiation exposure was far worse than a reasonable consumer would expect given the

13   premium paid for these smartphones over a cellphone.

14                 Defendant caused to be made or disseminated through California and the United States,

15   through advertising, marketing and other publications, statements that were untrue or misleading, and

16   which were known, or which by the exercise of reasonable care should have been known to

17   Defendant, to be untrue and misleading to consumers, including Plaintiffs and the other Class

18   members.
19                 Defendant has violated § 17500 because the misrepresentations and omissions regarding

20   the functionality, reliability, and safety of the Affected iPhones as set forth in this Complaint were

21   material and likely to deceive a reasonable consumer.

22                 Plaintiffs and the other Class members have suffered an injury in fact, including the loss

23   of money or property, as a result of Defendant's unfair, unlawful, and/or deceptive practices. In

24   purchasing or leasing their Affected iPhones, Plaintiffs and the other Class members relied on the

25   misrepresentations and/or omissions of Defendant with respect to the functionality, reliability, and

26   safety of the Affected iPhones.

27                 Defendant's representations turned out not to be true because the Affected iPhones emit

28   unsafe levels of RF radiation exposure when used or carried on or in close proximity to the body.
                                                          31
                                             CLASS ACTION COMPLAINT
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 1                 Had Plaintiffs and the other Class members known this, they would not have purchased

 2   or leased their smartphones and/or paid as much for them. Accordingly, Plaintiffs and the other Class

 3   members overpaid for their smartphones.

 4                 All of the wrongful conduct alleged herein occurred, and continues to occur, in the

 5   conduct of Defendant's business.

 6                 Defendant's wrongful conduct is part of a pattern or generalized course of conduct that

 7   is still perpetuated and repeated, both in the State of California and nationwide.

 8                 The facts concealed and omitted by Defendant to Plaintiffs and the other Class members

 9   are material in that a reasonable consumer would have considered them to be important in deciding

10   whether to purchase or lease the Affected iPhones or pay a lower price. Had Plaintiffs and the other

11   Class members known of the higher RF radiation exposure at the time they purchased or leased their

12   Affected iPhones, they would not have purchased or leased those smartphones, or would have paid

13   substantially less than they did.

14                 Plaintiffs' and the other Class members' injuries were proximately caused by

15   Defendant's fraudulent and deceptive business practices.

16                 Plaintiffs, individually and on behalf of the other Class members, request that this Court

17   enter such orders or judgments as may be necessary to restore to Plaintiffs and the other Class

18   members any money Defendant acquired by unfair competition, including restitution and/or
19   restitutionary disgorgement, and for such other relief as may be appropriate.
                                                   COUNT X
20    VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW (CAL. BUS. & PROF.
21                            CODE § 17500 ET SEQ.) AGAINST SAMSUNG

22                 The Samsung Plaintiffs incorporate by reference all paragraphs as though fully set forth

23   herein.

24                 This claim is brought by the Samsung Plaintiffs on behalf of the nationwide Samsung

25   Class.

26                 Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

27                 This claim is brought by the Samsung Plaintiffs on behalf of purchasers who are

28   members of the Samsung Class.
                                                        32
                                           CLASS ACTION COMPLAINT
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 1                 CAL. BUS. & PROF. CODE § 17500 states: "It is unlawful for any . . . corporation . . .

 2   with intent directly or indirectly to dispose of real or personal property . . . to induce the public to

 3   enter into any obligation relating thereto, to make or disseminate or cause to be made or disseminated

 4   . . . from this state before the public in any state, in any newspaper or other publication, or any

 5   advertising device, . . . or in any other manner or means whatever, including over the Internet, any

 6   statement . . . which is untrue or misleading, and which is known, or which by the exercise of

 7   reasonable care should be known, to be untrue or misleading."

 8                 Defendant failed to disclose that the that the Affected Galaxy Phones (i) emitted RF

 9   radiation exposure when used or carried on or in close proximity to the human body at unsafe levels;

10   and (ii) that the RF radiation exposure was far worse than a reasonable consumer would expect given

11   the premium paid for these smartphones over a cellphone.

12                 Defendant caused to be made or disseminated through California and the United States,

13   through advertising, marketing and other publications, statements that were untrue or misleading, and

14   which were known, or which by the exercise of reasonable care should have been known to

15   Defendant, to be untrue and misleading to consumers, including Plaintiffs and the other Class

16   members.

17                 Defendant has violated § 17500 because the misrepresentations and omissions regarding

18   the functionality, reliability, and safety of the Affected Phones as set forth in this Complaint were
19   material and likely to deceive a reasonable consumer.

20                 Plaintiffs and the other Class members have suffered an injury in fact, including the loss

21   of money or property, as a result of Defendant's unfair, unlawful, and/or deceptive practices. In

22   purchasing or leasing their Affected Phones, Plaintiffs and the other Class members relied on the

23   misrepresentations and/or omissions of Defendant with respect to the functionality, reliability, and

24   safety of the Affected Phones.

25                 Defendant's representations turned out not to be true because the Affected Phones emit

26   unsafe levels of RF radiation exposure when used or carried on or in close proximity to the body.

27

28
                                                          33
                                             CLASS ACTION COMPLAINT
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 1                   Had Plaintiffs and the other Class members known this, they would not have purchased

 2   or leased their smartphones and/or paid as much for them. Accordingly, Plaintiffs and the other Class

 3   members overpaid for their smartphones.

 4                   All of the wrongful conduct alleged herein occurred, and continues to occur, in the

 5   conduct of Defendant's business.

 6                   Defendant's wrongful conduct is part of a pattern or generalized course of conduct that

 7   is still perpetuated and repeated, both in the State of California and nationwide.

 8                   The facts concealed and omitted by Defendant to Plaintiffs and the other Class members

 9   are material in that a reasonable consumer would have considered them to be important in deciding

10   whether to purchase or lease the Affected Phones or pay a lower price. Had Plaintiffs and the other

11   Class members known of the higher RF radiation exposure at the time they purchased or leased their

12   Affected Phones, they would not have purchased or leased those smartphones, or would have paid

13   substantially less than they did.

14                   Plaintiffs' and the other Class members' injuries were proximately caused by

15   Defendant's fraudulent and deceptive business practices.

16                   Plaintiffs, individually and on behalf of the other Class members, request that this Court

17   enter such orders or judgments as may be necessary to restore to Plaintiffs and the other Class

18   members any money Defendant acquired by unfair competition, including restitution and/or
19   restitutionary disgorgement, and for such other relief as may be appropriate.

20
                                  COUNT XI
21     ALTERNATIVE COUNT FOR VIOLATION OF STATE CONSUMER PROTECTITION
22                           ACTS AGAINST APPLE
                     Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully set
23
     forth herein.
24
                     At all times relevant hereto, Defendant designed, manufactured, produced, marketed
25
     and/or sold the Affected iPhones.
26

27

28
                                                          34
                                             CLASS ACTION COMPLAINT
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 1                 The Apple Plaintiffs bring this alternative Count against Apple, individually, and on

 2   behalf of all similarly situated residents of each of the 50 states for violations of the state consumer

 3   protection acts including:

 4             a. the Alaska Unfair Trade Practices And Consumer Protection Act, Alaska Stat. §

 5                 45.50.471, et seq.;

 6             b. the Arizona Consumer Fraud Act, Ariz. Rev. Stat. §§ 44-1521, et seq.;

 7             c. the Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;

 8             d. the California Unfair Competition Law, Bus. & Prof. Code §§ 17200, et seq. and 17500,

 9                 et seq.;

10             e. the California Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;

11             f. the Colorado Consumer Protection Act, Colo. Rev. Stat. Ann. § 6-1-101, et seq.;

12             g. the Connecticut Unfair Trade Practices Act, Conn. Gen Stat. Ann. § 42- 110, et seq.;

13             h. the Delaware Consumer Fraud Act, 6 Del. Code § 2513, et seq.;

14             i. the D.C. Consumer Protection Procedures Act, D.C. Code § 28-3901, et seq.;

15             j. the Florida Deceptive And Unfair Trade Practices Act, Fla. Stat. Ann. § 501.201, et

16                 seq.;

17             k. the Georgia Fair Business Practices Act, Ga. Code Ann. § 10-1-390, et seq.;

18             l. the Hawaii Unfair Competition Law, Haw. Rev. Stat. § 480-2, et seq.;

19             m. the Idaho Consumer Protection Act, Idaho Code. Ann. § 48-601, et seq.;

20             n. the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 501/1, et

21                 seq.;

22             o. the Indiana Deceptive Consumer Sales Act, Ind. Code § 24-5-0.5-2, et seq.;

23             p. the Kansas Consumer Protection Act, Kan. Stat. Ann. § 50-623, et seq.;

24             q. the Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. § 367.110, et seq.;

25             r. the Louisiana Unfair Trade Practices And Consumer Protection Law, LSA-R.S.

26                 51:1401, et seq.;

27             s. the Maine Unfair Trade Practices Act, Me. Rev. Stat. Ann. Tit. 5, § 207, et seq.;

28             t. the Maryland Consumer Protection Act, Md. Code Ann. Com. Law, § 13-301, et seq.;
                                                         35
                                            CLASS ACTION COMPLAINT
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 1     u. the Massachusetts Regulation of Business Practices for Consumers Protection Act,

 2        Mass. Gen Laws Ann. Ch. 93A, et seq.;

 3     v. the Michigan Consumer Protection Act, Mich. Comp. Laws Ann. § 445.901, et seq.;

 4     w. the Minnesota Prevention of Consumer Fraud Act, Minn. Stat. § 325F, et seq.;

 5     x. the Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407, et seq.;

 6     y. the Nebraska Consumer Protection Act, Neb. Rev. St. §§ 59-1601, et seq.;

 7     z. the Nevada Deceptive Trade Practices Act, Nev. Rev. Stat. § 41.600, et seq.

 8     aa. the New Hampshire Regulation of Business Practices For Consumer Protection, N.H.

 9        Rev. Stat. § 358-A:1, et seq.;

10     bb. the New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8, et seq.;

11     cc. the New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57-12-1, et seq.;

12     dd. the New York Consumer Protection from Deceptive Acts and Practices, N.Y. Gen. Bus.

13        Law § 349, et seq.;

14     ee. the North Carolina Unfair And Deceptive Trade Practices Act, N.C. Gen Stat. § 75-1.1,

15        et seq.;

16     ff. the North Dakota Consumer Fraud Act, N.D. Cent. Code § 51-15, et seq.;

17     gg. the Ohio Consumer Sales Practices Act, Ohio Rev. Code Ann. § 1345.01, et seq.;

18     hh. the Oklahoma Consumer Protection Act, Okla. Stat. tit. 15 § 751, et seq.;

19     ii. the Oregon Unlawful Trade Practices Act, Or. Rev. Stat. § 646.605, et seq.;

20     jj. the Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 P.S. § 201-

21        1, et seq.;

22     kk. the Rhode Island Deceptive Trade Practices Act, R.I. Gen. Laws § 6-13.1-5.2(B), et

23        seq.;

24     ll. the South Carolina Unfair Trade Practices Act, S.C. Code Ann. §§ 39-5- 10, et seq.;

25     mm. the South Dakota Deceptive Trade Practices and Consumer Protection, S.D. Codified

26        Laws § 37-24-1, et seq.;

27     nn. the Tennessee Consumer Protection Act, Tenn. Code Ann. § 47-18-101, et seq.;

28
                                               36
                                  CLASS ACTION COMPLAINT
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 1               oo. the Texas Deceptive Trade Practices-Consumer Protection Act, Tex. Code Ann., Bus. &

 2                   Con. § 17.41, et seq.;

 3               pp. the Utah Consumer Sales Practices Act, Utah Code. Ann. § 13-11-175, et seq.;

 4               qq. the Vermont Consumer Fraud Act, 9 V.S.A. § 2451, et seq.;

 5               rr. the Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-199, et seq.;

 6               ss. the Washington Consumer Protection Act, Wash. Rev. Code § 19.86.010, et seq.;

 7               tt. the West Virginia Consumer Credit And Protection Act, W. Va. Code § 46A, et seq.;

 8               uu. the Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.; and

 9               vv. the Wyoming Consumer Protection Act, Wyo. Stat. Ann. § 40-12-101, et seq.

10                   The acts, practices, misrepresentations and omissions by Defendant described above,

11   and Defendant’s dissemination of deceptive and misleading advertising and marketing materials in

12   connection therewith, occurring in the course of conduct involving trade or commerce, constitute

13   unfair methods of competition and unfair or deceptive acts or practices within the meaning of each of

14   the above-enumerated statutes.

15                   Defendant’s acts and practices created a likelihood of confusion or of misunderstanding

16   and misled, deceived or damaged Plaintiffs and members of the Class in connection with the sale or

17   advertisement of the Affected iPhones. Defendant’s conduct also constituted the use or employment

18   of deception, fraud, false pretense, false promise, misrepresentation, or knowingly concealing,
19   suppressing, or omitting a material fact with intent that others rely upon the concealment, suppression

20   or omission in connection with the sale or advertisement of goods or services whether or not a person

21   has in fact been misled, deceived or damaged in violation of each of the above-enumerated statutes.

22                   Plaintiffs, on behalf of themselves and the other Class members, seek monetary

23   damages, treble damages and such other and further relief as set forth in each of the above enumerated

24   statutes.
                                  COUNT XII
25     ALTERNATIVE COUNT FOR VIOLATION OF STATE CONSUMER PROTECTITION
26                         ACTS AGAINST SAMSUNG
                     Plaintiffs incorporate by reference all other paragraphs of this Complaint as if fully set
27
     forth herein.
28
                                                          37
                                              CLASS ACTION COMPLAINT
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 1                 The Samsung Plaintiffs bring this alternative Count against Samsung, individually, and

 2   on behalf of all similarly situated residents of each of the 50 states for violations of the state consumer

 3   protection acts including:

 4                a. the Alaska Unfair Trade Practices And Consumer Protection Act, Alaska Stat. §

 5                    45.50.471, et seq.;

 6                b. the Arizona Consumer Fraud Act, Ariz. Rev. Stat. §§ 44-1521, et seq.;

 7                c. the Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;

 8                d. the California Unfair Competition Law, Bus. & Prof. Code §§ 17200, et seq. and

 9                    17500, et seq.;

10                e. the California Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;

11                f. the Colorado Consumer Protection Act, Colo. Rev. Stat. Ann. § 6-1-101, et seq.;

12                g. the Connecticut Unfair Trade Practices Act, Conn. Gen Stat. Ann. § 42- 110, et seq.;

13                h. the Delaware Consumer Fraud Act, 6 Del. Code § 2513, et seq.;

14                i. the D.C. Consumer Protection Procedures Act, D.C. Code § 28-3901, et seq.;

15                j. the Florida Deceptive And Unfair Trade Practices Act, Fla. Stat. Ann. § 501.201, et

16                    seq.;

17                k. the Georgia Fair Business Practices Act, Ga. Code Ann. § 10-1-390, et seq.;

18                l. the Hawaii Unfair Competition Law, Haw. Rev. Stat. § 480-2, et seq.;

19                m. the Idaho Consumer Protection Act, Idaho Code. Ann. § 48-601, et seq.;

20                n. the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 501/1,

21                    et seq.;

22                o. the Indiana Deceptive Consumer Sales Act, Ind. Code § 24-5-0.5-2, et seq.;

23                p. the Kansas Consumer Protection Act, Kan. Stat. Ann. § 50-623, et seq.;

24                q. the Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. § 367.110, et seq.;

25                r. the Louisiana Unfair Trade Practices And Consumer Protection Law, LSA-R.S.

26                    51:1401, et seq.;

27                s. the Maine Unfair Trade Practices Act, Me. Rev. Stat. Ann. Tit. 5, § 207, et seq.;

28                t. the Maryland Consumer Protection Act, Md. Code Ann. Com. Law, § 13-301, et seq.;
                                                         38
                                            CLASS ACTION COMPLAINT
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 1      u. the Massachusetts Regulation of Business Practices for Consumers Protection Act,

 2         Mass. Gen Laws Ann. Ch. 93A, et seq.;

 3      v. the Michigan Consumer Protection Act, Mich. Comp. Laws Ann. § 445.901, et seq.;

 4      w. the Minnesota Prevention of Consumer Fraud Act, Minn. Stat. § 325F, et seq.;

 5      x. the Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407, et seq.;

 6      y. the Nebraska Consumer Protection Act, Neb. Rev. St. §§ 59-1601, et seq.;

 7      z. the Nevada Deceptive Trade Practices Act, Nev. Rev. Stat. § 41.600, et seq.

 8      aa. the New Hampshire Regulation of Business Practices For Consumer Protection, N.H.

 9         Rev. Stat. § 358-A:1, et seq.;

10      bb. the New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8, et seq.;

11      cc. the New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57-12-1, et seq.;

12      dd. the New York Consumer Protection from Deceptive Acts and Practices, N.Y. Gen.

13         Bus. Law § 349, et seq.;

14      ee. the North Carolina Unfair And Deceptive Trade Practices Act, N.C. Gen Stat. § 75-

15         1.1, et seq.;

16      ff. the North Dakota Consumer Fraud Act, N.D. Cent. Code § 51-15, et seq.;

17      gg. the Ohio Consumer Sales Practices Act, Ohio Rev. Code Ann. § 1345.01, et seq.;

18      hh. the Oklahoma Consumer Protection Act, Okla. Stat. tit. 15 § 751, et seq.;

19      ii. the Oregon Unlawful Trade Practices Act, Or. Rev. Stat. § 646.605, et seq.;

20      jj. the Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 P.S. §

21         201-1, et seq.;

22      kk. the Rhode Island Deceptive Trade Practices Act, R.I. Gen. Laws § 6-13.1-5.2(B), et

23         seq.;

24      ll. the South Carolina Unfair Trade Practices Act, S.C. Code Ann. §§ 39-5- 10, et seq.;

25      mm.        the South Dakota Deceptive Trade Practices and Consumer Protection, S.D.

26         Codified Laws § 37-24-1, et seq.;

27      nn. the Tennessee Consumer Protection Act, Tenn. Code Ann. § 47-18-101, et seq.;

28
                                               39
                                  CLASS ACTION COMPLAINT
             Case 3:19-cv-05322-WHA Document 1 Filed 08/23/19 Page 40 of 44




 1               oo. the Texas Deceptive Trade Practices-Consumer Protection Act, Tex. Code Ann., Bus.

 2                   & Con. § 17.41, et seq.;

 3               pp. the Utah Consumer Sales Practices Act, Utah Code. Ann. § 13-11-175, et seq.;

 4               qq. the Vermont Consumer Fraud Act, 9 V.S.A. § 2451, et seq.;

 5               rr. the Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-199, et seq.;

 6               ss. the Washington Consumer Protection Act, Wash. Rev. Code § 19.86.010, et seq.;

 7               tt. the West Virginia Consumer Credit And Protection Act, W. Va. Code § 46A, et seq.;

 8               uu. the Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.; and

 9               vv. the Wyoming Consumer Protection Act, Wyo. Stat. Ann. § 40-12-101, et seq.

10                 The acts, practices, misrepresentations and omissions by Defendant described above,

11   and Defendant’s dissemination of deceptive and misleading advertising and marketing materials in

12   connection therewith, occurring in the course of conduct involving trade or commerce, constitute

13   unfair methods of competition and unfair or deceptive acts or practices within the meaning of each of

14   the above-enumerated statutes.

15                 Defendant’s acts and practices created a likelihood of confusion or of misunderstanding

16   and misled, deceived or damaged Plaintiffs and members of the Class in connection with the sale or

17   advertisement of the Affected Galaxy Phones. Defendant’s conduct also constituted the use or

18   employment of deception, fraud, false pretense, false promise, misrepresentation, or knowingly
19   concealing, suppressing, or omitting a material fact with intent that others rely upon the concealment,

20   suppression or omission in connection with the sale or advertisement of goods or services whether or

21   not a person has in fact been misled, deceived or damaged in violation of each of the above-

22   enumerated statutes.

23                 Plaintiffs, on behalf of themselves and the other Class members, seek monetary

24   damages, treble damages and such other and further relief as set forth in each of the above enumerated

25   statutes.

26   ///

27   ///

28   ///
                                                        40
                                           CLASS ACTION COMPLAINT
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                                           COUNT XIII
 1                              UNJUST ENRICHMENT AGAINST APPLE
 2
                   Plaintiffs repeat and re-allege all preceding paragraphs as if fully set forth herein. The
 3
     Apple Plaintiffs bring this Count against Apple on behalf of the Apple Class.
 4
                   At all times relevant hereto, Defendant designed, manufactured, produced, marketed
 5
     and/or sold the Affected iPhones.
 6
                   Apple has benefitted from its unlawful acts by receiving payments for the sale of the
 7
     Affected iPhones.
 8
                   Plaintiffs and members of the Class conferred upon Defendant, without knowledge that
 9
     the Affected Phones emitted RF radiation exposure at unsafe levels when used or carried or in close
10
     proximity to the human body, benefits that were non-gratuitous.
11
                   Defendant appreciated, or had knowledge of, the non-gratuitous benefits conferred upon
12
     it by Plaintiffs and members of the Class.
13
                   Defendant accepted or retained the non-gratuitous benefits conferred by Plaintiffs and
14
     members of the Class, with full knowledge and awareness that, as a result of Defendant’s
15
     unconscionable wrongdoing, Plaintiffs and members of the Class were not receiving product of high
16
     quality, nature, fitness or value that had been represented by Defendant and reasonable consumers
17
     would have expected.
18
                   Retaining the non-gratuitous benefits conferred upon Defendant by Plaintiffs and
19
     members of the Class under these circumstances made Defendant’s retention of the non-gratuitous
20
     benefits unjust and inequitable.
21
                   Because Defendant’s retention of the non-gratuitous benefits conferred by Plaintiffs and
22
     members of the Class is unjust and inequitable, Plaintiffs and members of the Class are entitled to,
23
     and hereby seek disgorgement and restitution of Defendant’s wrongful profits, revenue, and benefits
24
     in a manner established by the Court.
25
     ///
26
     ///
27
     ///
28
                                                        41
                                             CLASS ACTION COMPLAINT
            Case 3:19-cv-05322-WHA Document 1 Filed 08/23/19 Page 42 of 44




                                            COUNT XIV
 1                             UNJUST ENRICHMENT AGAINST SAMSUNG
 2
                   Plaintiffs repeat and re-allege all preceding paragraphs as if fully set forth herein. The
 3
     Samsung Plaintiffs bring this Count against Samsung on behalf of the Samsung Class.
 4
                   At all times relevant hereto, Defendant designed, manufactured, produced, marketed
 5
     and/or sold the Affected Galaxy Phones.
 6
                   Samsung has benefitted from its unlawful acts by receiving payments for the sale of the
 7
     Affected Galaxy Phones.
 8
                   Plaintiffs and members of the Class conferred upon Defendant, without knowledge that
 9
     the Affected Phones emitted RF radiation exposure at unsafe levels when used or carried or in close
10
     proximity to the human body, benefits that were non-gratuitous.
11
                   Defendant appreciated, or had knowledge of, the non-gratuitous benefits conferred upon
12
     it by Plaintiffs and members of the Class.
13
                   Defendant accepted or retained the non-gratuitous benefits conferred by Plaintiffs and
14
     members of the Class, with full knowledge and awareness that, as a result of Defendant’s
15
     unconscionable wrongdoing, Plaintiffs and members of the Class were not receiving product of high
16
     quality, nature, fitness or value that had been represented by Defendant and reasonable consumers
17
     would have expected.
18
                   Retaining the non-gratuitous benefits conferred upon Defendant by Plaintiffs and
19
     members of the Class under these circumstances made Defendant’s retention of the non-gratuitous
20
     benefits unjust and inequitable.
21
                   Because Defendant’s retention of the non-gratuitous benefits conferred by Plaintiffs and
22
     members of the Class is unjust and inequitable, Plaintiffs and members of the Class are entitled to,
23
     and hereby seek disgorgement and restitution of Defendant’s wrongful profits, revenue, and benefits
24
     in a manner established by the Court.
25
                                        VIII. PRAYER FOR RELIEF
26
            WHEREFORE, Plaintiffs and the members of the Classes pray for judgment against
27
     Defendants, as follows:
28
                                                        42
                                             CLASS ACTION COMPLAINT
           Case 3:19-cv-05322-WHA Document 1 Filed 08/23/19 Page 43 of 44




 1                        (a)    Certifying the classes and appointing the respective Plaintiffs as Class

 2                          Representatives and their counsel as Class Counsel;

 3                        (b)    Finding against Defendants on liability;

 4                        (c)    Awarding Plaintiffs and the Class the costs of medical monitoring,

 5                          damages suffered by Plaintiffs and the Class, restitution to Plaintiffs and the

 6                          Class of all monies wrongfully obtained by Defendant;

 7                        (d)    Granting appropriate injunctive relief;

 8                        (e)    Awarding reasonable attorneys’ fees and costs incurred in prosecuting

 9                          this action, and

10                        (f)    Such other and further relief that the Court deems just and proper.

11                                                 JURY DEMAND

12        Plaintiffs demand a trial by jury on all claims so triable.

13

14

15                                               Respectfully submitted,

16
     DATED: August 23, 2019
17                                               By:        /s/ Jennie Lee Anderson
                                                 Jennie Lee Anderson (SBN 203586)
18                                               jennie@andrusanderson.com
                                                 ANDRUS ANDERSON LLP
19
                                                 155 Montgomery Street, Suite 900
20                                               San Francisco, CA 94104
                                                 Telephone: (415) 986-1400
21                                               Facsimile: (415) 986-1474

22                                               Elizabeth A. Fegan (motion for pro hac vice forthcoming)
                                                 beth@feganscott.com
23
                                                 Timothy A. Scott (motion for pro hac vice forthcoming)
24                                               tim@feganscott.com
                                                 FEGAN SCOTT LLC
25                                               150 S. Wacker Dr., 24th Floor
                                                 Chicago, IL 60606
26                                               Telephone:    (312) 741-1019
                                                 Facsimile:    (312) 264-0100
27

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                                 J. Barton Goplerud (motion for pro hac vice forthcoming)
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